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 5                           UNITED STATES DISTRICT COURT
 6                                DISTRICT OF NEVADA
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 8   UNITED STATES OF AMERICA,               )
                                             )     2:06-CR-00291-PMP-LRL
 9                  Plaintiff,               )
                                             )
10   vs.                                     )           ORDER
                                             )
11   LONNIE LILLARD,                         )
                                             )
12                                           )
                    Defendant.               )
13                                           )
14            The Court having read and considered Defendant Lillard’s Motion for
15   Relief From Judgment/Order Entered May 26, 2010, Pursuant to Federal Rules of
16   Civil Procedure 60(b)(4) and 60(b)(6) (Doc. #286) filed February 24, 2012, and
17   good cause appearing,
18            IT IS ORDERED that Defendant Lillard’s Motion for Relief From
19   Judgment/Order Entered May 26, 2010, Pursuant to Federal Rules of Civil
20   Procedure 60(b)(4) and 60(b)(6) (Doc. #286) is DENIED.
21   DATED: March 13, 2012.
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                                             PHILIP M. PRO
24                                           United States District Judge
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